                        IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF NORTII CAROLINA
                                  WESTERN DMSION
                                  No. 5:19-Clt-00171-D


UNITED STATES OF AMERICA                      )
                                              )
                                              )
                    v.                        )               ORDER
                                              )
JAWONE REGINALD BENNETT,                      )
                                              )
                          Defendant.          )


       On September 11, 2020, Jawone Reginald Bennett ("Bennett'' or "defendant'') moved pro
                                                                (

se for compassionate release under the First Step Act (''First Step Act"), Pub. L. No. 115-391, §

603(b), 132 Stat 5194, 5238-41 (2018) (codified as amended at 18 U.S.C. § 3582) [D.E: 57]. On

April 22, 2021, Bennett, through counsel, filed a memorandum. in support [D.E. 61] ..On June 6,

2021, the United States responded in opposition [D.E. 65]. As explained below, the court denies

Bennett's motion.

                                                  I.

       On November 27, 2019, pursuant to a written plea agreement, Bennett pleaded guilty to

possession with the intent to distribute a quantity of cocaine, a quantity of marijuana, and 28 grams

of crack cocaine and to possessing a firearm in furtherance of a drug trafficking crime. See [D.E.

35, 37]; see also [D.E. 65] 8. On June 18, 2020, the court held a sentencing hearing and adopted the

facts set forth in thePresentenceJnvestigationReport("PSR"). SeePSR [D.E. 41]; [D.E. 53]; [D.E.

70] 4; Fed. R. Crim. P. 32(i)(3)(A}-{B). The court calculated Bennett's total offense level to be 23,

his criminal history category to be VI, and his advisory guideline range to be 92 to 115 months'

imprisonment, to be followed by a mjnjmum of 60 months for the firearm count. See PSR ,r 66;



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 [D.E. 70] 5. After thoroughly considering the arguments of counsel and all relevant factors under

 18 U.S.C. § 3553(a), thecourtsentencedBennettto 83 months' imprisonment on count two and60

 months' consecutive imprisonment on count four, for a total of 143 months' imprisonment. See

 [D.E. 55] 2; [D.E. 70] 14-24. The sentence included a nine-month adjustment on count two under

 U.S.S.G. § 5Gl.3(b)(l). See [D.E. 70] 20.

         On December 21, 2018, the First Step Act went into effect. See First Step Act, 132 Stat. at

 5249. Before the First Step Act, only the Director of the Bureau of Prisons ("BOP") could file a

 motion for compassionate release. Under the First Step Act, a sentencing court may modify a

 sentence of imprisonment either upon a motion of the Director of the BOP "or upon motion of the

 defendant after the defendant has fully exhausted all adminiinrative rights to appeal a failure of the

 [BOP] to bring a motion on the defendant's behalf or the lapse of 30 days from the receipt of such ·
                                                                                                       ,,
 arequestbythewardenofthedefendant'sfacility, whichever is earlier." 18 U.S.C. § 3582(c)(l)(A).

        After a defendant meets the exhaustion requirement, a defendant must (1) demonstrate

 "extraordinary and compelling reasons;' for a sentence reduction, or (2) be at least 70 years old, have

 served at least 30 years in prison, and have the Director of the BOP determine ''that the defendant

 is not a danger to the safety of any other person or the community." Id. In deciding to reduce a

 sentence under section 3582(c)(l)(A), a court must consult the sentencing factors in 18 U.S.C. §

 3553(a) and must ensure that a sentence reduction is "consistent with applicable policy statements

 issued by the" United States Sentencing Commission (the "Commission"). Id.

        The Commission policy statements includeU.S.S.G. § lBl.13. Section lBl.13 essentially

 parrots section 3582(c)(l)(A)'s requirements and adds that the defendant not be "a danger to the

, safety of any other person or to the community." U.S.S.G. § 1B1.13(2). Section 1Bl.13's

 application notes provide examples ofextraordinary and compelling reasons, including: (A) serious

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medical conditions of the defendant, (B) advanced age of the defendant when coupled with "a

serious deterioration in physical and mental health" due to aging and having served at least 10 years

or 75% ofhis or her imprisonment term (whichever is less), (C) family circumstances, or (D) another

extraordinary and compelling reason. U.S.S.G. § lB_l.13 cmt. n.1. 1 Application note 2 states that


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           Application note 1 to U.S.S.G. § lBl.13 states in fulb

       1.      Extraordinary and Compelling Reasons.-Provided the defendant meets the
               requirements of subdivision (2), extraordinary and compelling reasons exist
               under any of the circumstances set forth below:

               (A) Medical Condition of the Defendant.-

                      (i) The defendant is suffering from a terminal illness (i.e., a serious and
                          advanced illness with an end oflife trajectory). A specific prognosis
                                                                                        I
                          of life expectancy (i.e., a probability of death within a specific time
                          period) is not required. Examples include metastatic solid-tumor
                          cancer, am.yotrophic lateral sclerosis (ALS), end-stage organ
                          djsease, and advanced dementia

                      (ii) The defendant is-

                            (1) suffering from a serious physical or medical condition,

                            (II) suffering from a serious functional or cognitive impairment,
                                 or

                            (III) experiencing deteriorating physical or mental health because
                                  of the aging process,

                            that substantially diminishes the ability of the defendant to
                            provide self-care within ~e environment of a correctional facility
                            and from which he or she is not expected to recover.

                (B) Age of the Defendant-The defendant (i) is at least 65 years old; (ii) .
                      is experiencing a serious deterioration in physical or mental health
                      because ofthe aging process; and (iii) has served at least 10 years or 75
                      percent of his or her term of imprisonment, whichever is less.

                 (C) Family Circumstances.-


                                                   3

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 "an extraordinary and compelling reason need not have been unforeseen at the time of sentencing

 in order to warrant a reduction in the term of imprisonment." U.S.S.G. § 1B1.13 cmt. n.2. Thus,

 ''the fact that an extraordinary and compelling reason reasonably could have been known or

 anticipated by the sentencing court does not preclude consideration for a reduction under this policy

 statement." Id. Application note 3 states, "Pursuant.to 28 U.S.C. § 994(t), rehabilitation of the

 defendant is not, by itself, an extraordinary and compelling reason for purposes of this policy .

 statement." U.S.S.G. § 1B1.13 cmt. n.3.

        The Commission has lacked a quorum since Congress enacted the First Step Act and has not

updated U.S.S.G. § 181.13 to account for the First Step Act. Accordingly, section 1B1.13 does not

provide a policy where an inmate files a motion for a sentence reduction under 18 U.S.C. §

 3582(c)(l)(A). See,~ United States v. High. 997 F.3d 181, 186 (4th Cir. 2021); United States

v. Kibble, 992 F.3d 326, 330-31 (4th Cir. 2021), petition for cert. docketed, (U.S. Sept. 8, 2021)

 (No. 21-5624); United States v. McCoy, 981 F.3d 271, 280-84 (4th Cir. 2020). Rather, "U.S.S.G.

 § 1B 1.13 only applies when a request for compassionate release is made upon motion ofthe Director

of the [BOP]." Kibble, 992 F.3d at 330-31 (cleaned up). Nevertheless, section 1B1.13 provides




                     (i) The death or incapacitation ofthe caregiver ofthe defendant's minor
                         child or minor children.

                    (ii) The incapacitation of the defendant's spouse or registered partner
                         when the defendant would be the only available caregiver for the
                         spouse or registered partner.

                (D) Other Reasons.-As determined by the Director of the Bureau of
                    Prisons, there exists in the defendant's case an extraordinary and
                    compelling reason other·~ or in combination with, the reasons
                    described in subdivisions (A) through (C).

U.S.S.G. § 1B1.13 cmt. n.1 (emphasis omitted).

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informative policy when assessing an inmate's motio_n, but a court independently determines whether

"extraordinary and compelling reasons" warrant a sentence reducti9n under 18 U.S.C. §

358,2(c)(l)(A)(i). See High. 997 F.3d at 186; McCoy. 981 F.3d at 283-84. In doing so, the court

consults not only U.S.S.G. § lB 1.13, but also the text of 18 U.S.C. § 3582(c)(1 )(A) and the section

3553(a) factors. See, e.g.• McCoy, 981 F.3d at 280--84; United States v. Jones, 980 F.3d 1098,

1101-03 (6th Cir. 2020); United States v. ymm, 980 F.3d 1178, 118(r81 (7th Cir. 2020); United

States v. Ruffin, 978 F.3d 1000, 1007-09 (6th Cir. 2020); United States v. Brooker, 976 F.3d 228,

237-38(2dCir.2020);UnitedStatesv.Clark,No.1:09cr336-l,2020WL1874140,at*2(M.D.N.C.

Apr. 15, 2020) (unpublished).

        Bennett seeks compassionate release pursuant to section 3582(c)(l)(A). See [D.E. 57].

Bennett did not pursue any administrative remedies before filing his motion for compassio:qate

release. See id. at 4-5. According to Bennett, because he was still awaiting transport to the BOP-

when he filed his motion, he did not have to exhaust hi~ administrative remedies. See id. (citing

United States v. Lebanion, No. 6: 12-26-KKC-HAI-04, 2020 WL 4809433, at *2 (E.D. Ky. Aug. 18,

2020) (unpublished); United States v. Williams, No. 19-cr-134-PWG, 2020 WL 3073320, at *3 (D.

Md. June 10, 2020) (unpublished); United States v. Van Dyke, No. 2:15-CR-00025-JLQ-l, 2020

WL 1811346, at *1-2 (E.D. Wash. Apr. 8, 2020) (unpublished)). Bennett also argues that even

though he is now in BOP custody, "[t]he Warden at USP Atlanta is unlikely to grant [Bennett's]

request in a timely fashion," and Bennett asks the court to waive the exhaustion requirement. [D.E.

. 61] 4. The government disagrees and asks the court to deny Bennett's motion for failure to exhaust.

See [D.E. 65] 5.

        The Fourth Circuit has not squarely addressed the reach of section 3582's exhaustion·

requirement. Cf. McCoy. 981 F .3d at 283. The court assumes without deciding that when Bennett

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filed his motion in June 2020, Bennett exhausted his administrative remedies. See Williams, 2020

WL 3073320, at *3 (finding the administrative exhaustion requirement satisfied "because there [was]

no BOP Warden to whom [the defendant could] send a petition"). Accordingly, the court addresses

Bennett's motion on the merits.

       In support of his m6tion for compassionate release, Bennett cites the COVID-19 pandemic,

his health conditions, and his race. See [D.E. 61] 5-7. Bennett also cites his skills in plumbing,
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heating, ventilation, and air conditioning, his supportive family including his three children (ages

15, 20, and 23), and his release plan. See [D.E. 61] 7-8; [D.E. 57] 3-4.

       The ''medical condition of the defendant" policy statement requires that the defendant be

"suffering from a serious physical or medical condition ... that substantially diminif:hes the ability

ofthe defendant to provide self-care within the environment ofa correctional facility and from which
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he or she is not expected to recover." U.S.S.G. § lBl.13 cmt. n.l(A)(ii). Bennett argues that his

obesity, diabetes, and high blood pressure make him more likely to contract COVID-19. See [D.E.

61] 5; [D.E. 57] 2-3. Bennett has not alleged that he is unable to manage his health conditions while

incarcerated or that the BOP is not giving him proper treatment. Moreover, COVID-19 vaccines are

available to any inmate at USP Atlanta. See [D.E. 65] 7. Bennett has not disclosed to the court

whether he is vaccinated. Cf. [D.E. 61, 62]. Nevertheless, the wide availability of COVID-19

vaccines diminishes Bennett's argument that his medical conditions warrant his immediate release.

Cf. United States v. Broadfi.elg, 5 F.4th 801, 803 (7th Cir. 2021) ("[F]or the vast majority of

prisoners, the availability of a vaccine makes it impossible to conclude that the risk of COVID-19

is an 'extraordinary and compelling' reason for immediate release."). Accordingly, reducing

Bennett's sentence is not consistent with application note l(A). See 18 U.S.C. § 3582(c)(l)(A).

       As for the "other reasons" policy statement, the court assumes without deciding that, taken

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together, the COVID-19 pandemic, Bennett's health conditions, and Bennett's race are extraordinary

and compelling reasons under section 3582(c)(l)(A). Cf. United States v. Raia, 954 F.3d 594, 597
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(3d Cir. 2020) ("[T]he mere existence of COVID-19 in society and the possibility that it may spread

to a parti~ular prison alone, cannot independently justify compassionate release, especially

considering BOP's statutory role, and its extensive and professional efforts to curtail the virus's

spread."). Even so, the section 3553(a) factors counsel against reducing Bennett's sentence. See

High, 997 F.3d at 187-91; Kibble, 992 F.3d at 331-32; United States v. Chambliss, 948 F.3d 691,

693-94 (5th Cir. 2020); Clark, 2020 WL 1874140, at *3-8.

       Bennett is 43 years old and has served less than 1.5 years ofhis nearly 12-year sentence. See

[D.E. 61] 1; [D.E. 55]. Bennett is incarcerated for possession with intent to distribute a quantity of

marij~ a quantity of cocaine, and 28 grams or more of crack cocaine and for possessing a firearm

in furtherance of a drug trafficking offense. See PSR ff 1, 2, 4, 6; see also [D.E. 65] 8. Bennett has

a serious criminal record that includes wi11fu1 obstruction oflaw enforcement, deposit account fraud,

possession ofmarij~ possession of cocaine, attempted robbery by intimidation, and third-degree

attempted sale of a controlled substance. See id. ff 16-24. Furthermore, Bennett has a history of

probation revocations and violations, including absconding while on supervision. See id. ff 20--21,

23.

       The court has also considered Bennett's rehabilitation efforts,2 potential exposure to COVID-

19, medical conditions, job skills, and release plan. Cf. Pep_per v. United States, 562 U.S. 476,


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         The court recognizes that it sentenced Bennett during the pandemic, and as a result, Bennett
has not yet had an opportunity to participate in the BOP's educational and drug treatment programs
because they have been restricted due to COVID-19. See [D.E. 61] 7. For purposes ofthis motion,
the court assumes Bennett would be taking advantage of these programs if they were available. At
the same time, because the court sentenced Bennett during the pandemic, the court was aware of
COVID-19 and its effects when it sentenced Bennett.

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480-81 (2011); High, 997 F.3d at 187-91; United States v. McDonald, 986 F.3d 402,412 (4th Cir.

2021); United States v. Martin, 916 F.3d 389, 398 (4th Cir. 2019). Having considered the entire

record, the steps that the BOP has taken to address COVID-19 and treat Bennett, the section 3553(a)

factors, Bennett's arguments, the government's persuasive response, and the need to punish Bennett

for his criminal behavior, to incapacitate Bennett, to promote respect for the law, to deter others, and

to protect society, the court denies Bennett's motion for compassionate release. See, e.g., Chavez-

Meza v. United States, 138 S. Ct. 1959, 1966--68 (2018); Ru.ffi"4 978 F.3d at 1008---09; Chambliss,

948 F.3d at 693-94; United States v~ Hill, No. 4:13-CR-28-BR, 2020 WL205515, at *2 (E.D.N.C.

Jan. 13, 2020) (unpublished), aff'g, 809 F. App'x 161 (4th Cir. 2020) (per curiam) (unpublished).

                                                  n.
       In sum, the court DENIES defendant's motion for compassionate release [D.E. 57].

       SO ORDERED. This~ day of October, 2021.



                                                            JSC.DEVERill
                                                            United States District Judge




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